      Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 1 of 31 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA

 LERNARD MACK, individually and on                  Case No. 1:20-cv-835
 behalf of all others similarly situated,
                                                    COMPLAINT
                        Plaintiff,
                                                    CLASS ACTION
        v.
                                                    DEMAND FOR JURY TRIAL
 NATIONAL COLLEGIATE ATHLETIC
 ASSOCIATION,

                        Defendant.


             CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Lernard Mack, individually and on behalf of all others similarly situated, brings

this Class Action Complaint and Demand for Jury Trial against Defendant National Collegiate

Athletic Association (“NCAA”) to obtain redress for injuries sustained a result of Defendant’s

reckless disregard for the health and safety of generations of Texas Southern University

(“TSU”) student-athletes. Plaintiff alleges as follows upon personal knowledge as to himself and

his own acts and experiences and, as to all other matters, upon information and belief, including

investigation conducted by his attorneys.

                                       INTRODUCTION

       1.      Nearly one hundred thousand student-athletes sign up to compete in college

football each year, and it’s no surprise why. Football is America’s sport and Plaintiff and a Class

of football players (defined below) were raised to live and breathe the game. During football

season, there are entire days of the week that millions of Americans dedicate to watching the

game. On game days, hundreds of thousands of fans fill stadium seats and even more watch

around the world. Before each game, these players—often mere teenagers—are riled up and told
      Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 2 of 31 PageID #:2




to do whatever it takes to win and, when playing, are motivated to do whatever it takes to keep

going.

         2.     But up until 2010, Defendant NCAA kept players and the public in the dark about

an epidemic that was slowly killing college athletes.

         3.     During the course of a college football season, athletes absorb more than 1,000

impacts greater than 10 Gs (gravitational force) and, worse yet, the majority of football-related

hits to the head exceed 20 Gs, with some approaching 100 Gs. To put this in perspective, if you

drove your car into a wall at twenty-five miles per hour and weren’t wearing a seatbelt, the force

of you hitting the windshield would be around 100 Gs. Thus, each season these 18, 19, 20, and

21-year-old student-athletes are subjected to repeated car accidents.

         4.     Over time, the repetitive and violent impacts to players’ heads led to repeated

concussions that severely increased their risks of long-term brain injuries, including memory

loss, dementia, depression, Chronic Traumatic Encephalopathy (“CTE”), Parkinson’s disease,

and other related symptoms. Meaning, long after they played their last game, they are left with a

series of neurological events that could slowly strangle their brains.

         5.     For decades, Defendant NCAA knew about the debilitating long-term dangers of

concussions, concussion-related injuries, and sub-concussive injuries (referred to as “traumatic

brain injuries” or “TBIs”) that resulted from playing college football, but recklessly disregarded

this information to protect the very profitable business of “amateur” college football.

         6.     While in school, TSU football players were under Defendant’s care.

Unfortunately, Defendant did not care about the off-field consequences that would haunt

students, like Plaintiff Mack, for the rest of their lives.




                                                    2
      Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 3 of 31 PageID #:3




       7.      Despite knowing for decades of a vast body of scientific research describing the

danger of traumatic brain injuries (“TBIs”) like those Plaintiff experienced, Defendant failed to

implement adequate procedures to protect Plaintiff and other TSU football players from the long-

term dangers associated with them. It did so knowingly and for profit.

       8.      As a direct result of Defendant’s acts and omissions, Plaintiff and countless

former TSU football players suffered brain and other neurocognitive injuries from playing

NCAA football. As such, Plaintiff brings this Class Action Complaint in order to vindicate those

players’ rights and hold the NCAA accountable.

                                           PARTIES

       9.      Plaintiff Lernard Mack is a natural person and citizen of the State of Texas.

       10.     Defendant NCAA is an unincorporated association with its principal place of

business located at 700 West Washington Street, Indianapolis, Indiana 46206. Defendant NCAA

is not organized under the laws of any State, but is registered as a tax-exempt organization with

the Internal Revenue Service. As such, Defendant NCAA is a citizen of the State of Indiana

pursuant to 28 U.S.C. § 1332(d)(10).

                                JURISDICTION AND VENUE

       11.     This Court has subject matter jurisdiction over Plaintiff’s claims under 28 U.S.C.

§ 1332(d)(2) because (a) at least one member of the Class, which consists of at least 100

members, is a citizen of a different state than Defendant, (b) the amount in controversy exceeds

$5,000,000, exclusive of interest and costs, and (c) none of the exceptions under that subsection

apply to this action.




                                                 3
      Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 4 of 31 PageID #:4




       12.     This Court has personal jurisdiction over Defendant NCAA because it conducts

significant business in this District, including establishing consumer and business contracts here,

and because it maintains its principal place of business in this District.

       13.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

part of the events and omissions giving rise to Plaintiff’s claims occurred in and/or emanated

from this District, and because Defendant NCAA resides here.

                                  FACTUAL BACKGROUND

I.     Defendant Had A Duty To Protect TSU Student-Athletes, Including Plaintiff.

       14.     The NCAA is the governing body of collegiate athletics that oversees twenty-

three college sports and over 400,000 students who participate in intercollegiate athletics,

including the football program at TSU. According to the NCAA, more than 1,200 schools,

conferences and affiliate organizations collectively invest in improving the experiences of

athletes—on the field, in the classroom, and in life.

       15.     The NCAA brings in more than $750 million in revenue each year and is the most

significant college sports-governing body in the United States.

       16.     The NCAA plays a significant role in governing and regulating the TSU football

program and owes a duty to safeguard the well-being of its student-athletes.

       17.     In fact, since its founding in 1906, the NCAA (then the Intercollegiate Athletic

Association of the United States (“IAAUS”)), has claimed to be “dedicated to safeguarding the

well-being of student-athletes and equipping them with the skills to succeed on the playing field,

in the classroom and throughout life.”1 The IAAUS was specifically formed for this purpose




1
         Who We Are, Nat’l Collegiate Athletic Ass’n, http://www.ncaa.org/about/who-we-are
(last visited March 13, 2020).


                                                  4
      Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 5 of 31 PageID #:5




because, at the turn of the twentieth century, head injuries were occurring at an alarming rate in

college football. In response, President Theodore Roosevelt convened a group of Ivy League

university presidents and coaches to discuss how the game could be made safer. After several

subsequent meetings of colleges, the NCAA was established.2

        18.        As such, the genesis of the NCAA was for a singular goal: “to keep college

athletes safe.”3

        19.        The overarching principles of the NCAA, including its purported commitment to

safeguarding its athletes, are contained in the NCAA Constitution. The NCAA Constitution

clearly defines the NCAA’s purpose and fundamental policies to include maintaining control

over and responsibility for intercollegiate sports and athletes. The NCAA Constitution states:

                   The purposes of this Association are:

                   (a) To initiate, stimulate and improve intercollegiate athletics
                       programs for athletes;

                   (b) To uphold the principal of institutional control of, and
                       responsibility for, all intercollegiate sports in conformity with
                       the constitution and bylaws of this association;

NCAA Const., Art. 1, § 1.2(a)(b).

        20.        The NCAA Constitution also defines one of its “Fundamental Policies” as the

requirement that “[m]ember institutions shall be obligated to apply and enforce this legislation,

and the enforcement procedures of the Association shall be applied to an institution when it fails

to fulfill this obligation.” NCAA Const., Art. 1, § 1.3.2.




2
        In 1910, the IAAUS changed its name to the National Collegiate Athletic Association.
3
        Well-Being, Nat’l Collegiate Athletic Ass’n, http://www.ncaa.org/health-and-safety (last
visited March 13, 2020).


                                                     5
      Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 6 of 31 PageID #:6




       21.     Article 2.2 of the NCAA Constitution specifically governs the “Principle of

Student-Athlete Well-Being,” and provides:

               2.2 The Principle of Student-Athlete Well-Being.
               Intercollegiate athletics programs shall be conducted in a manner
               designed to protect and enhance the physical and educational well-
               being of student athletes. (Revised: 11/21/05.)

               2.2.3 Health and Safety.
               It is the responsibility of each member institution to protect the
               health of, and provide a safe environment for, each of its
               participating student athletes. (Adopted: 1/10/95.)

       22.     To accomplish this purpose, the NCAA promulgates and implements standard

sport regulations and requirements, such as the NCAA Constitution, Operating Bylaws, and

Administrative Bylaws. These NCAA documents provide detailed instructions on game and

practice rules, player eligibility, scholarships, and player well-being and safety. Both NCAA

member institutions, including schools like TSU, and NCAA conferences are obligated to abide

by the NCAA’s rules and requirements. Specifically, according to the NCAA Constitution:

“Each institution shall comply with all applicable rules and regulations of the Association in the

conduct of its intercollegiate athletics programs . . . Members of an institution’s staff, athletes,

and other individuals and groups representing the institution’s athletics interests shall comply

with the applicable Association rules, and the member institution shall be responsible for such

compliance.” NCAA Const., Art. 2, § 2.8.1.

       23.     The NCAA publishes a health and safety guide termed the Sports Medicine

Handbook (the “Handbook”). The Handbook, which is produced annually, includes the NCAA’s

official policies and guidelines for the treatment and prevention of sports-related injuries, as well

as return-to-play guidelines, and recognizes that “student-athletes rightfully assume that those

who sponsor intercollegiate athletics have taken reasonable precautions to minimize the risk of



                                                   6
      Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 7 of 31 PageID #:7




injury from athletics participation.”4

          24.   The NCAA, therefore, holds itself out as both a proponent of and authority on the

treatment and prevention of sports-related injuries upon which NCAA athletes (including

Plaintiff Mack), TSU, and all other member institutions can rely for guidance on player-safety

issues.

          25.   Plaintiff Mack—and football players at TSU—relied upon the NCAA’s authority

and guidance to protect his health and safety by treating and preventing head-related injuries,

including the effects of those head injuries later on in his life.

          26.   As compared to Plaintiff and other TSU football players, the NCAA was in a

superior position to know of and mitigate the risks of sustaining concussions and other TBIs

while playing football at TSU. It failed to do so.

II.       Decades Of Studies Firmly Establish The Dangers Of Football-Related Concussions.

          27.   Throughout the twentieth century and into the twenty-first century, studies have

firmly established that repetitive and violent impacts to the head can cause concussions and

TBIs, with a heightened risk of long-term injuries and impacts, including—but not limited to—

memory loss, dementia, depression, Alzheimer’s disease, Parkinson’s disease, and CTE.

          28.   Such violent impacts to the head are a one-way street for those who experience

them. As Jonathan J. Russin—Assistant Surgical Director at the USC Neurorestoration Center at

the Keck School of Medicine—has stated, “there’s no way to undo a traumatic brain injury,” and

one’s “best bet is to avoid concussions altogether.”5




4      John T. Parsons, 2014-15 NCAA Sports Med. Handbook, Nat’l Collegiate Athletic Ass’n
(Aug. 2014), available at https://bit.ly/2QD5DUx.
5
       Deanna Pai, Do Concussions Increase the Risk of Stroke or Brain Cancer?, Keck Med. of
USC, https://bit.ly/2MzSkkC (last visited March 13, 2020).


                                                     7
      Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 8 of 31 PageID #:8




       29.     To better understand the results of these studies, a brief introduction to

concussions in football follows.

       A.       An Overview of Concussions in Football.

       30.     A TBI is an injury to the brain that comes as the result of the application of either

external physical force or rapid acceleration and deceleration forces, which disrupts brain

function in a manner that causes impairments in cognitive and/or physical function.

       31.     A concussion is a TBI initiated by an impact to the head, which causes the head

and brain to move rapidly back and forth. The movement causes the brain to bounce around or

twist within the skull, damaging brain cells and leading to harmful chemical changes in the brain.

       32.     The human brain is made of soft tissue, cushioned by spinal fluid, and encased in

a hard skull. During everyday activity, the spinal fluid protects the brain from crashing against

the skull. But relatively minor impacts—including not only direct blows to the head, but also

blows to the body and movements that cause the neck to whiplash—can move the brain enough

to press through the spinal fluid, knock against the inside of the skull, and cause concussions.

       33.     Concussions typically occur when linear and rotational accelerations impact the

brain through either direct impact to the head or indirect impacts that whiplash the head. During

the course of a college football season, studies have shown that athletes can receive more than

1,000 impacts greater than 10 Gs. This is slightly more force than a fighter pilot receives from

performing maximal maneuvers. The majority of football-related hits to the head exceed 20 Gs,

with some going well over 100 Gs.

                i.     Concussion Symptoms.

       34.     When a collegiate athlete suffers a severe impact to the head, he may experience

concussion-related symptoms, including:




                                                 8
      Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 9 of 31 PageID #:9




                 •    “seeing stars” and feeling dazed, dizzy, or lightheaded;

                 •    memory loss;

                 •    nausea or vomiting;

                 •    headaches;

                 •    blurred vision and sensitivity to light;

                 •    slurred speech or saying things that do not make sense;

                 •    difficulty concentrating, thinking, or making decisions;

                 •    difficulty with coordination or balance;

                 •    feeling anxious or irritable for no apparent reason; and

                 •    feeling overly tired.

       35.     A collegiate athlete may not recognize the signs and/or symptoms of a

concussion, and, more often, the effect of the concussion itself prevents him from recognizing

them. Because of that, he may put himself at risk of further injury by returning to a game after a

concussion. Brains that have not had time to properly heal from a concussion are particularly

susceptible to further injury.

                ii.    Post-Concussion Treatment.

       36.     After a concussion, the brain needs time to heal. Doctors generally prohibit

individuals from returning to normal activities—certainly including contact sports—until all

symptoms have subsided. They do so because, immediately after a concussion, the brain is

particularly vulnerable to further injury. Even after the immediate effects have worn off, a person

who has suffered a concussion is four to six times more likely to receive another concussion than

a person who has been concussion-free.

       37.     The length of the healing process varies from person to person and from



                                                   9
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 10 of 31 PageID #:10




concussion to concussion. Symptoms may even last for one or two weeks.

       38.     Individuals who do not recover from a concussion within a few weeks are

diagnosed with post-concussion syndrome. The symptoms of post-concussion syndrome can last

for months, and sometimes can even be permanent. Generally, people suffering from post-

concussion syndrome are referred to specialists for additional medical help.

       39.     Still, many people think of concussions as short-term, temporary injuries.

However, decades of scientific research demonstrate the effects of concussions are anything but

temporary.

       B.       Studies Confirm the Dangers and Long-Term Effects of Concussions.

       40.     Two of the leading studies on the long-term effects of concussions were

conducted by Boston University’s Center for the Study of Traumatic Encephalopathy and the

Brain Injury Research Institute. These studies showed the “devastating consequences” of

repeated concussions, including that they lead to an increased risk of depression, dementia, and

suicide. These studies have also demonstrated that repeated concussions trigger progressive

degeneration of the brain tissue, including the build-up of an abnormal protein called the tau

protein.

       41.     In his early studies, Dr. Robert Cantu of the Boston University Center for the

Study of Traumatic Encephalopathy found evidence of CTE in 90 of 94 (96%) autopsied brains

of former NFL players. A recent update to these studies found CTE in a staggering 110 of 111

(99%) former NFL players and 48 of 53 former college players (91%).6

       42.     These more recent studies were neither aberrations nor surprises but




6
      Jesse Mez, MD, MS, et al., Clinicopathological Evaluation of Chronic Traumatic
Encephalopathy in Players of American Football, 318 JAMA 4, 360–370 (2017).


                                                10
     Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 11 of 31 PageID #:11




confirmations of what was already known or readily apparent from the existing medical

literature.

        43.     Studies like these, which establish the devastating dangers related to TBIs, date

back to the early twentieth century. For example, in an article in the 1905 multi-volume medical

text A System of Medicine, surgeon Sir William Bennett noted that the dangers from TBIs can

arise just as easily when “no loss of consciousness occurs at all,” and that such injuries “may in

the end have far graver results” due to their “escap[ing] treatment altogether in the first instance”

given their less severe appearance.7 Bennett noted that the imposition of a strict treatment

regimen immediately after an injury, during initial recovery, and following the initial recovery

period, was essential to the “treatment of all cases of concussion of the brain, whether they be

severe or slight.”8

        44.     Some early articles from this period began to recognize the unique dangers

presented by football, specifically. The editors of the Journal of the American Medical

Association recognized the long-term risks of such head injuries very early on, writing in 1905

that “[t]o be a cripple or lunatic for life is paying high for athletic emulation” via football.9

Similarly, the risks of concussions in football were discussed in a 1906 article by Dr. Edward

Nichols, who observed that a concussed player might go through multiple plays before his

teammates noticed his altered mental state.10

        45.     Beginning with studies on the brain injuries suffered by boxers in the 1920s,



7
        Sir William Bennett, Some Milder Forms of Concussion of the Brain, A Sys. of Med.
Vol. 8 231-32 (2d ed. 1910).
8
        Id.
9
        Editors, The Football Mortality, 39 JAMA 1464 (1905).
10
        Edward Nichols, The Physical Aspect of American Football, 154 Boston Med. & Surgical
J.1 (1906).


                                                  11
     Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 12 of 31 PageID #:12




medical science began to clearly recognize the debilitating effects of concussions and other TBIs,

connect it to contact sports (including football), and find that repetitive head impacts can cause

permanent brain damage and increased risk of long-term cognitive decline and disability.

       46.     For instance, in 1927, Drs. Michael Osnato and Vincent Giliberti discussed a

disease they called traumatic encephalitis in an article on post-concussion damage in Archives of

Neurology & Psychiatry, concluding that brain disease could manifest in “young men knocked

out in football and other games,” but noting that the issue had “not received adequate

attention.”11 Then, in 1928, Pathologist Dr. Harrison Martland published a study called “Punch

Drunk” in the Journal of the American Medical Association, where he described the clinical

spectrum of abnormalities found in nearly 50 percent of boxers who had been knocked out or

who had suffered a considerable impact to the head.12

       47.     Countless studies were later conducted on boxers suffering chronic neurological

symptoms as a result of repeated head injuries, and who displayed signs of dementia and

impairment of motor functions.13 As incidents of chronic encephalopathy increased, they were

often characterized as a “Parkinsonian” pattern of progressive decline. However, in a chapter of a

mid-twentieth century book on brain injuries, psychiatrists Karl M. Bowman and Abram Blau

coined the term “chronic traumatic encephalopathy” to explain the deterioration of a boxer’s




11
        Michael Osnato & Vincent Giliberti, Postconcussion Neurosis-Traumatic Encephalitis,
18 Archives of Neurology & Psychiatry 181 (1927).
12
        Dr. Harrison S. Martland, Punch Drunk, 91 JAMA 1103 (1928).
13
        See, e.g., E. Guttmann & C.E. Winterstein, Disturbances of Consciousness After Head
Injuries: Observations on Boxers, 84 J. of Mental Sci. 347 (Mar. 1938); Harry L. Parker,
Traumatic Encephalopathy (‘Punch Drunk’) of Professional Pugilists, 15 J. of Neurology &
Psychopathology 20 (July 1934); C.E. Winterstein, Head Injuries Attributable to Boxing, 2
Lancet 719 (Sept. 1937).



                                                 12
     Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 13 of 31 PageID #:13




mental state over time.14

       48.     In 1936, Dr. Edward J. Carroll, Jr. wrote an article further recognizing “punch-

drunk syndrome’s” seriousness, stating that “no head blow is taken with impunity, and [] each

knock-out causes definite and irreparable damage. If such trauma is repeated for a long enough

period, it is inevitable that nerve cell insufficiency will develop ultimately, and the individual

will become punch-drunk.” He also noted that in addition to boxers, punch drunk had been

recognized among football players.15

       49.     The next year, the American Football Coaches Association published a report

warning that players who suffer even “one concussion” should be removed from play.16

       50.     In 1952, an article published in The New England Journal of Medicine first

recommended a “three-strike rule” for concussions in football, demanding that players cease to

play football permanently after receiving their third concussion.17

       51.     Starting in the late 1960s, the medical community began focusing on the effects of

concussion-related injuries in football. In a 1967 study, Drs. John R. Hughes and D. Eugene

Hendrix examined how severe impacts affected brain activity in football players by utilizing

electroencephalograms (“EEGs”).18 Several years after that, a potentially fatal condition known




14
        K.M. Bowman & A. Blau, Psychotic States Following Head and Brain Injury in Adults
and Children, Injuries of the Skull, Brain and Spinal Cord: Neuropsychiatric, Surgical, and
Medico-Legal Aspects 309 (S. Brock, ed. 1940).
15
        Edward J. Carroll, Jr., Punch-Drunk, 191 Am. J. Med. Sci. 706 (1936).
16
        Proceedings of the Seventeenth Annual Meeting of the American Football Coaches
Association (Dec. 29, 1937) (“Sports demanding personal contact should be eliminated after an
individual has suffered a concussion”).
17
        Augustus Thorndike, Serious Recurrent Injuries of Athletes—Contraindications to
Further Competitive Participation, 247 New Eng. J. Med. 554, 555-56 (1952).
18
        John R. Hughes & D. Eugene Hendrix, Telemetered EEG From A Football Player In
Action, 24 Electroencephalography & Clin. Neurophysiology 183 (1968).


                                                 13
     Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 14 of 31 PageID #:14




as “Second Impact Syndrome” was identified, which is a re-injury to an already-concussed brain

that triggers swelling the skull cannot accommodate.

        52.     In 1975, the Chief Medical Officer of the British Boxing Board of Control

suggested boxers were not the only persons or athletes vulnerable to the risk of long-term brain

injuries, stating:

                Irreversible brain damage caused by regular excessive punching
                can cause a boxer to become punch drunk, a condition known
                euphemistically in medical terms as [Chronic] Traumatic
                Encephalopathy. The condition can be caused by other hazards of
                contact sports—taking too many falls while hunting or steep
                chasing or the continual use of brute force rather than skill in the
                rugby field or heading a football incessantly over many years.
                Anything which entails intermittent trauma to the head can
                cause it.19

        53.     Overall, countless studies—published in prominent medical journals such as the

Journal of the American Medical Association, Neurology, The New England Journal of

Medicine, and Lancet—warned of the dangers of single concussions, multiple concussions,

and/or football-related head trauma from multiple concussions and head injuries. These studies

collectively established that:

                     •   repetitive head trauma in contact sports, including football,
                         has potentially dangerous long-term effects on brain
                         function;
                     •   traumatic encephalopathy (dementia pugilistica) is caused by
                         repeated sub-concussive and concussive blows to the head;
                     •   acceleration and rapid deceleration of the head that results in
                         brief loss of consciousness also results in a tearing of the
                         axons (brain cells) in the brainstem;
                     •   with respect to head injuries in athletes who play contact
                         sports, there is a relationship between neurologic pathology
                         and length of the athlete’s career;
                     •   immediate retrograde memory issues occur following
                         concussions;

19
        J.W. Graham, Eight, Nine, Out! Fifty Years as Boxer’s Doctor, 56 (1975).


                                                    14
     Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 15 of 31 PageID #:15




                 •   head injuries require recovery time without risk of subjection
                     to further injury;
                 •   a football player who suffers a concussion requires
                     significant rest before being subjected to further contact; and
                 •   minor head trauma can lead to neuropathological and
                     neurophysiological alterations, including neuronal damage,
                     reduced cerebral blood flow, altered brainstem evoked
                     potentials and reduced speed of information processing.

       54.     As a result of these studies, medical professionals began recommending changes

to the game of football and how concussion-related injuries should be handled.

       55.     By 1991, Dr. Robert Cantu, the American Academy of Neurology, and the

Colorado Medical Society had developed return-to-play criteria for football players suspected of

sustained head injuries.

       56.     In 2003, a NCAA concussion study concluded that football players who had

previously sustained a concussion were more likely to have future concussion injuries. Another

2003 NCAA concussion study concluded that collegiate football players “may require several

days for recovery of symptoms, cognitive dysfunction, and postural instability after [a]

concussion,” and that concussions are “followed by a complex cascade of ionic, metabolic, and

physiological events that can adversely affect cerebral function for several days to weeks.”20

       57.     Following these studies, in 2004, the National Athletic Trainers’ Association

published a position statement, recommending baseline cognitive and postural-stability testing,

as well as return-to-play recommendations, including holding out athletes who exhibit symptoms

of a suspected head injury.

       58.     Building upon that, a convention of neurological experts met in Prague in 2004



20
       Michael McCrea, et al., Acute Effects and Recovery Time Following Concussion in
Collegiate Football Players, The NCAA Concussion Study, The Journal of the Am. Med. Ass’n
(November 19, 2003), available at http://jama.jamanetwork.com/article.aspx?articleid=197668.


                                                15
       Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 16 of 31 PageID #:16




with the aim of providing recommendations for the improvement of safety and health of athletes

who suffer concussive injuries in ice hockey, rugby, football, and other sports, based on the most

up-to-date research. These experts recommended that a player never be returned to play while

symptomatic, and coined the phrase, “when in doubt, sit them out.”

         59.    Ultimately, while the NCAA knew of the harmful effects of TBIs (and other head

injuries) on athletes for decades, it ignored these facts and failed to institute any meaningful

methods of warning and/or protecting the athletes, including football players like Plaintiff Mack

and other TSU student-athletes. For the NCAA, the continued expansion and operation of

college football was simply too profitable to put at risk.

III.     The NCAA Breached Its Duties To Its Student-Athletes, Including Plaintiff Mack,
         By Ignoring The Dangers Of Concussions And Failing To Implement Adequate
         Concussion Management Protocols.

         60.    For decades, the NCAA has been aware—through its own institutional

knowledge, internal research, and current medical science, among other sources of information—

that severe and/or repeated head impacts can lead to long-term brain injuries, including memory

loss, dementia, depression, and CTE. Unfortunately, while the NCAA knew about the harmful

and devastating effects of these sub-concussive and concussive injuries, it recklessly ignored

these facts and failed to implement reasonable concussion management protocols to protect its

athletes, including Plaintiff.

         61.    Such conduct stands in stark contrast to the NCAA’s approach in comparable

contexts. For instance, in 1960, the NCAA wholly discontinued its relationship with collegiate

boxing following widespread criticism of the sport’s dangers and a heightened organizational

awareness of the long-term risks student boxers faced—including, but not limited to, developing

“punch drunk syndrome.” But as to college football, including TSU’s football program, the




                                                 16
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 17 of 31 PageID #:17




NCAA continued to govern, support, and profit from the sport without disclosing what it knew to

student-athletes, including Plaintiff Mack.

       62.        Since at least 1933, the NCAA has known of the serious nature of concussions

and other head injuries in college football, and even recognized the need for appropriate

concussion management protocols. In its 1933 Sports Medicine Handbook—which it distributed

to all member institutions—the NCAA specifically recognized that head injuries warrant special

attention and should not be regarded lightly.

       63.        The 1933 Sports Medicine Handbook then provided information for school and

college doctors, coaches, and trainers to identify the signs and symptoms of concussions, as well

as methods to be used on the sidelines for treating them. It discussed head injuries, stating that

they “are in a category by themselves and warrant special attention,” as they “may be, and often

are more severe in their immediate and remote consequences” than other injuries. Notably, the

1933 Sports Medicine Handbook recommended that, when concussion-related symptoms lasted

longer than two days, players should “not be permitted to compete for 21 days or longer, if at

all.” It also stated, “[t]here is definitely a condition described as ‘punch drunk’ and often

recurrent concussion cases in football and boxing demonstrate this,” and that “[a]ny individual

who is knocked unconscious repeatedly on slight provocation should be forbidden to play body-

contact sport.”

       64.        The NCAA recognizes that its Sports Medicine Handbook “may constitute some

evidence of the legal standard of care,” and has publicly recognized its duty and moral obligation

to protect collegiate athletes. As NCAA President Mark Emmert testified to the Senate

Commerce Committee in January 2014, “I will unequivocally state we have a clear moral

obligation to make sure we do everything we can to protect and support student-athletes.”




                                                 17
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 18 of 31 PageID #:18




       65.     Indeed, in the September 1968 issue of NCAA News, the NCAA published an

article entitled Dangers of Grid Head Injuries Cited by Safeguards Committee. In the article, the

NCAA Committee on Competitive Safeguards and Medical Aspects of Sport issued a statement

on the dangers of repeated head injuries in football, stating:

               [T]hose individuals who have been rendered unconscious, even
               momentarily, in a given game should never be allowed to play
               again in the same game and not allowed to return to contact until
               all symptoms have cleared up entirely and he has been checked by
               a competent medical authority.

       66.     Rather than inform Plaintiff and other TSU athletes of these risks or implement

protocols to protect and safeguard them from TBI-related injuries (as the NCAA promised to do

through the NCAA Constitution, among other things), the NCAA failed to meaningfully adopt or

enforce the internationally accepted guidelines regarding concussion management and return to

play protocols until 2010.

       67.     Instead, in complete disregard of the vast body of known scientific evidence and

the resources and authority that it possessed, the NCAA failed prior to 2010 to, amongst other

things, do any of the following:

                 •   implement adequate guidelines or rules to prevent repeated
                     concussions, and failed to educate players, including
                     Plaintiff, about the increased risk of concussive and sub-
                     concussive injury in football, particularly under
                     circumstances when the helmet is used as a weapon when
                     tackling, blocking, or running with the football;
                 •   recommend or enforce adequate return to play procedures or
                     take action to educate athletes, including Plaintiff, about the
                     risks of repetitive head injuries;
                 •   conduct a football program that proactively encouraged
                     Plaintiff and other TSU football players to avoid head
                     injuries, instead compelling players to ignore concussion
                     symptoms and continue to play football within moments of
                     experiencing concussion symptoms; and



                                                 18
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 19 of 31 PageID #:19




                   •   contact football players, including Plaintiff, after they left
                       TSU to inform them that they had been exposed to an
                       increased risk of long-term brain damage by the sub-
                       concussive and concussive blows sustained while playing
                       football for TSU.

       68.     In April 2010, under mounting public pressure, the NCAA made changes to its

concussion treatment protocols, this time enacting a new policy that required its member

institutions to have a Concussion Management Plan (“CMP”) in place for all sports.

       69.     Under that new policy, which became effective in August 2010, member schools

were required to have a CMP on file “such that a student-athlete who exhibits signs, symptoms,

or behaviors consistent with a concussion shall be removed from practice or competition and

evaluated by an athletics healthcare provider with experience in the evaluation and management

of concussions.”

       70.     The policy further states that students diagnosed with a concussion “shall not

return to activity for the remainder of that day” and that the team physician would determine

medical clearance.

       71.     Finally, the policy required students to sign a statement “in which they accept the

responsibility for reporting their injuries and illnesses, including signs and symptoms of

concussion” to medical staff and noted that students would be provided educational materials on

concussions during the signing process.

       72.     This policy is flawed though: due to the very nature of concussions, athletes

suffering concussive injuries are in no position to police themselves or to give informed consent

about whether to continue playing. For example, the types of questions used to screen players for

concussions include: “What’s your name?”, “What year is it?”, and “What sport are we

playing?”. These types of questions are used for screening precisely because players



                                                   19
     Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 20 of 31 PageID #:20




experiencing concussions routinely fail to answer them correctly, despite their very elementary

nature. Following logically on that, a player who cannot state his or her own name is in no

condition to make an informed decision about whether or not to continue playing, and is entirely

dependent on others, such as the NCAA and TSU, to identify concussive injuries in real-time and

take appropriate remedial actions. The NCAA has stood in the role of guardian, tasked with

making decisions in his and other football players’ best interests. The NCAA failed to fulfill that

role and instead acted in its own self-interest, to the detriment of its student-athletes, including

Plaintiff.

        73.    In the end, the NCAA implemented these (still deficient) policies far too late for

Plaintiff Mack and other TSU football players.

                           FACTS SPECIFIC TO LERNARD MACK

        74.    Plaintiff Lernard Mack played football at TSU from 1997 to 2003, as a

linebacker.

        75.    While playing at TSU, Plaintiff Mack suffered from numerous concussions, as

well as countless sub-concussive hits as part of routine practice and gameplay.

        76.    Since the inception of TSU’s football program, through at least 2010, there were

no adequate concussion management protocols or policies in place to address and treat

concussions sustained by student-athletes during practice and in games. For instance, when

Plaintiff Mack and other TSU players experienced a significant head injury or concussion, they

would quickly be returned to the field of play or only be taken out of play or practice for an

inadequate period of time.

        77.    In fact, although Plaintiff Mack sustained repetitive serious blows to the head in

practices and games for the NCAA’s profit, the NCAA failed to adopt or implement adequate




                                                  20
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 21 of 31 PageID #:21




concussion management safety protocols or return to play guidelines during his time on TSU’s

football team.

       78.       As a result, Plaintiff Mack now suffers from issues including, but not limited to,

short-term memory loss, loss of impulse control, depression, emotional instability, speech and

language impairment, and ADHD.

                               CLASS ACTION ALLEGATIONS

       79.       Class Definition: Plaintiff Lernard Mack brings this action for himself and on

behalf of a class of similarly situated individuals, defined as follows:

                 All individuals who participated in TSU’s football program between
                 1952 and 2010.

The following people are excluded from the Class: (1) any Judge or Magistrate presiding over

this action and members of their families; (2) Defendant, Defendant’s subsidiaries, parents,

successors, predecessors, and any entity in which the Defendant or its parents have a

controlling interest and its current or former employees, officers, and directors; (3) persons

who properly execute and file a timely request for exclusion from the Class; (4) persons whose

claims in this matter have been finally adjudicated on the merits or otherwise released; (5)

Plaintiff’s counsel and Defendant’s counsel; and (6) the legal representatives, successors, and

assigns of any such excluded persons.

       80.       Numerosity: The exact number of members of the Class is not available to

Plaintiff at this time, but it is clear that individual joinder is impracticable. Upon information and

belief, hundreds of individuals fall into the definition of the Class.

       81.       Commonality: There are many questions of law and fact common to Plaintiff and

the Class, and those questions predominate over any questions that may affect individual

members. Common questions for the Class include, but are not limited to, the following:



                                                  21
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 22 of 31 PageID #:22




       (a)     Whether Defendant had a duty to adequately warn and educate players
               about the dangers and symptoms of concussions and concussion-
               related brain injuries;

       (b)     Whether Defendant had a duty to enact rules and procedures to protect
               players from sustaining concussions and concussion-related brain
               injuries;

       (c)     Whether Defendant’s conduct as alleged herein constitutes a breach of
               duty;

       (d)     Whether Defendant’s conduct as alleged herein constitutes negligence;

       (e)     Whether Defendant’s conduct as alleged herein constitutes breach of
               contract;

       (f)     Whether Defendant’s conduct as alleged herein constitutes fraudulent
               concealment; and

       (g)     Whether Plaintiff and the Class are entitled to equitable relief,
               including actual and compensatory damages, and other injunctive
               relief.

       82.     Typicality: Plaintiff’s claims are typical of those of members of the Class, as

Plaintiff and other members sustained injuries arising out of the same wrongful conduct of

Defendant.

       83.     Adequate Representation: Plaintiff will fairly and adequately represent the

interests of the Class and has retained counsel competent and experienced in complex litigation

and class actions. Plaintiff has no interests antagonistic to those of the Class, and Defendant has

no defenses unique to Plaintiff.

       84.     Predominance and Superiority: Class proceedings are superior to all other

available methods for the fair and efficient adjudication of this controversy, as joinder of all

members of the Class is impracticable. Individual litigation would not be preferable to a class

action because individual litigation would increase the delay and expense to all parties due to the

complex legal and factual controversies presented in this Complaint. By contrast, a class action



                                                 22
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 23 of 31 PageID #:23




presents far fewer management difficulties and provides the benefits of single adjudication,

economy of scale, and comprehensive supervision by a single court. Economies of time, effort,

and expense will be fostered and uniformity of decisions will be ensured.

                                FIRST CAUSE OF ACTION
                                       NEGLIGENCE
                (Individually and on Behalf of the Class as Against Defendant)

       85.     Plaintiff incorporates by reference the foregoing allegations.

       86.     From its inception and by virtue of its role as the governing body of college

athletics, the NCAA has historically assumed a duty to protect the health and safety of all

athletes at member institutions, including Plaintiff Mack. The NCAA also assumed a duty of care

by voluntarily taking steps to protect and promote the health and safety of its players, including

promulgating safety handbooks and regulations. That duty included an obligation to supervise,

regulate, and monitor the rules of its governed sports, and provide appropriate and up-to-date

guidance and regulations to minimize the risk of injury to its athletes.

       87.     The duties of the NCAA included specific obligations to supervise, regulate, and

monitor the rules of the TSU football program and provide appropriate and up-to-date guidance

and regulations to minimize the risk of long-term and short-term brain damage to TSU football

players, including Plaintiff Mack.

       88.     The NCAA had a duty to educate TSU football players on the proper ways to

evaluate and treat head injuries during and after football games and practices, including

repetitive concussive and sub-concussive injuries. The NCAA’s duties further included a duty to

warn its athletes of the dangers of concussive and sub-concussive injuries and of the risks

associated with football before, during, and after they played college football, and as additional

information came to light.




                                                 23
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 24 of 31 PageID #:24




       89.     The NCAA had a duty not to conceal material information from TSU football

players, including Plaintiff Mack.

       90.     The NCAA breached its duties owed to TSU student-athletes, including Plaintiff

Mack, by failing to implement, promulgate, or require appropriate and up-to-date guidelines

regarding the evaluation and treatment of TBIs on the playing field, in the locker room, and in

the weeks and months after they sustained TBIs, as well as providing treatment for the latent

effects of TBIs. These failings included, but are not limited to:

               (a)     failing to adequately recognize and monitor concussive and
                       sub-concussive injury during football practices and games;

               (b)     failing to adequately inform student football players of the
                       dangers of concussive and sub-concussive injuries;

               (c)     failing to adequately design and implement return to play
                       regulations for student football players who sustained
                       concussive and/or sub-concussive injuries and/or were
                       suspected of sustaining such injuries;

               (d)     failing to adequately design and implement procedures to
                       monitor the health of student football players after they
                       sustained (or were suspected of sustaining) concussive
                       and/or sub-concussive injuries;

               (e)     failing to adequately inform the families of student football
                       players who sustained concussive and/or sub-concussive
                       injuries; and

               (f)     failing to adequately provide adequate notification, warning
                       and treatment for latent neuro-cognitive and neuro-
                       behavioral effects of concussive and sub-concussive
                       injuries, after the time student football players, including
                       Plaintiff Mack, left TSU.

       91.     The NCAA breached its duties to student football players, including Plaintiff

Mack, by failing to disclose and/or failing to recognize and/or being willfully non-observant of:

(a) material information regarding the long-term risks and effects of repetitive head trauma it

possessed or should have possessed; (b) the dangers of concussive and sub-concussive injuries;


                                                 24
     Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 25 of 31 PageID #:25




and (c) the proper ways to evaluate, treat, and avoid concussive and sub-concussive trauma to

football players, including Plaintiff Mack.

        92.    As a football player at TSU, Plaintiff Mack and those like him relied upon the

guidance, expertise, and instruction of the NCAA in understanding the risks associated with

serious and life-altering concussive and sub-concussive hits in football.

        93.    At all times, the NCAA had superior knowledge of material information regarding

the effects of repeated head injuries, including through its institutional knowledge of such

effects. Because such information was not readily available to TSU football players, including

Plaintiff Mack, the NCAA knew or should have known that they would act and rely upon its

guidance, expertise, and instruction on these crucial medical issues while attending TSU and

thereafter.

        94.    Repetitive TBIs during college football practices and games have a pathological

and latent effect on the brain. Repetitive exposure to rapid accelerations to the head causes

deformation, twisting, shearing, and stretching of neuronal cells such that multiple forms of

damage take place, including the release of small amounts of chemicals within the brain, such as

protein, which is a signature pathology of the same phenomenon as boxer’s encephalopathy (or

“punch drunk syndrome”) studied and reported by Harrison Martland in 1928.

        95.    In addition, repetitive concussive and sub-concussive blows to the head can

significantly increase a person’s risk of developing neurodegenerative disorders and diseases,

including but not limited to CTE, Alzheimer’s disease, and other similar cognitive-impairing

conditions, especially when such blows are sustained at an early age.

        96.    As a direct and proximate result of Defendant’s negligence, student-athletes,

including Plaintiff Mack, experienced repetitive concussive and sub-concussive impacts during




                                                25
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 26 of 31 PageID #:26




his college football career, which significantly increased their risk of developing

neurodegenerative disorders and diseases, including but not limited to CTE, Alzheimer’s disease,

and other, similar cognitive-impairing conditions. And indeed, Plaintiff now suffers from, and

continues to suffer from, issues including but not limited to short-term memory loss, loss of

impulse control, depression, emotional instability, speech and language impairment, and ADHD.

       97.     The repetitive head accelerations and hits to which student-athletes, including

Plaintiff Mack, were exposed to presented risks of latent and long-term debilitating chronic

illnesses. Absent the NCAA’s negligence and concealment, the risk of harm to these student-

athletes, including Plaintiff Mack, would have been materially decreased, and they would not

have developed serious mental health issues.

       98.     As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

have incurred damages in the form of permanent brain damage, emotional distress, past and

future medical costs, health care, home care expenses, other out of pocket expenses, lost time,

lost future earnings, and other damages. Plaintiff and other members of the Class will likely

incur future damages caused by Defendant’s negligence.

       99.     As such, Defendant is the direct and proximate cause of Plaintiff and the putative

Class’s injuries, and is liable to them for the full measure of damages allowed under applicable

law, as well as interest, reasonable attorneys’ fees, expenses, and costs.

                              SECOND CAUSE OF ACTION
                           BREACH OF EXPRESS CONTRACT
               (Individually and on Behalf of the Class as Against Defendant)

       100.    Plaintiff incorporates by reference the foregoing allegations.

       101.    As a football player at TSU, an institution governed by the NCAA, Plaintiff Mack

and other TSU football players were required to, and did, enter into contracts with the NCAA as




                                                 26
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 27 of 31 PageID #:27




a prerequisite to sports participation. These contracts required Plaintiff Mack and other TSU

football players to complete a form affirming that they had read the NCAA regulations and

applicable NCAA Division manual, which expressly encompassed the NCAA Constitution,

Operating Bylaws, and Administrative Bylaws, and further, that they agreed to abide by Division

Bylaws.

       102.    In exchange for these student-athletes’ agreements, the NCAA promised to

perform certain services and functions, including, amongst other things:

               (a)     conducting intercollegiate athletics in a manner designed to
                       protect and enhance the physical and educational wellbeing
                       of NCAA athletes;
               (b)     requiring that each member institution protect the health of,
                       and provide a safe environment for, each of its participating
                       athletes; and
               (c)     requiring that each member institution establish and
                       maintain an environment in which the NCAA athletes’
                       activities are conducted as an integral part of the athletes’
                       educational experience.

       103.    By signing and agreeing to abide by NCAA rules and regulations, and thereafter

participating in NCAA-sanctioned sports programs in accordance with said rules and regulations,

Plaintiff Mack and other TSU football players fulfilled their contractual obligations to the

NCAA.

       104.    As described in the foregoing allegations, the NCAA breached its contractual

agreement by failing to ensure Plaintiff Mack and other TSU student-athletes were provided a

safe environment in which to participate in collegiate football. The NCAA further breached its

contractual agreement by concealing and/or failing to properly educate and warn Plaintiff Mack

and other TSU football players about the symptoms and long-term risks of concussions and

concussion-related traumatic injury.

       105.    Plaintiff Mack and other TSU football players entered into written agreements


                                                 27
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 28 of 31 PageID #:28




with the NCAA in which they committed to play football at TSU, to attend TSU as students, and

to comply with all codes of conduct and obligations as both football players and students at TSU.

       106.    Plaintiff Mack and other TSU football players fulfilled their contractual

obligations to the NCAA.

       107.    The NCAA’s contractual breaches caused Plaintiff Mack and other TSU football

players to suffer injuries and damages in the form of, inter alia, past, ongoing, and future

medical expenses, lost time, lost future earnings, and other damages.

       108.    As a result of its misconduct, the NCAA is liable to Plaintiff and the Class for the

full measure of damages and other relief allowed under applicable law.

                               THIRD CAUSE OF ACTION
                             FRAUDULENT CONCEALMENT
               (Individually and On Behalf of the Class as Against Defendant)

       109.    Plaintiff incorporates by reference the foregoing allegations.

       110.    The NCAA has long understood that repetitive head impacts sustained while

playing football created a risk of harm to student-athletes that was similar or identical to the risk

boxers faced by participating in boxing practices and matches.

       111.    The NCAA was aware of and understood the significance of the published

medical literature described herein, which detailed the serious risk of short- and long-term brain

injury and disease associated with repetitive head impacts, including those which Plaintiff Mack

and other TSU football players were exposed.

       112.    The NCAA knowingly concealed these risks from Plaintiff Mack and other TSU

football players considering whether or not to participate in an NCAA football program.

       113.    By concealing these highly material facts, the NCAA intended to induce a false

belief in Plaintiff Mack and TSU football players like him about the short- and long-term risks of




                                                 28
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 29 of 31 PageID #:29




repetitive head impacts in football. As an entity that voluntarily took on the role of governing the

sport of football in colleges across the country (including TSU), and was created and perpetuated

specifically to protect player safety, the NCAA had a duty to speak about these issues—instead,

it remained silent. The NCAA’s intent in doing so was to induce Plaintiff Mack and other TSU

football players to continue playing NCAA football, even after sustaining one or more

concussions and even when those concussions required additional time to heal.

       114.    Plaintiff Mack and other TSU football players could not have reasonably been

expected to know or discover the truth about the risks associated with concussive and sub-

concussive blows to the head, or were misled from obtaining such truthful information. Plaintiff

Mack and other TSU football players were under the care and treatment of the NCAA, and

justifiably relied on the NCAA’s silence as representing facts that did not exist.

       115.    Given the NCAA’s superior and unique vantage point, Plaintiff Mack and other

TSU football players reasonably looked to the NCAA for guidance on head impacts—and

concussions, in particular—as well as the later-in-life consequences of receiving repetitive head

impacts during football games and practices at TSU.

       116.    The NCAA failed to act reasonably in light of its omission, including by failing to

develop and implement adequate guidelines and rules regarding return-to-play criteria, and other

safety procedures. The NCAA’s inaction and concealment increased the risk of long-term injury

and illness in TSU football players, including Plaintiff Mack—and indeed, did result in them

suffering from long-term brain injuries and disease.

       117.    As a direct and proximate result of Defendant’s knowing concealment and/or

willful blindness, Plaintiff Mack and other TSU football players suffered substantial injuries.

       118.    As a direct result of the NCAA’s failure to reveal pertinent information, Plaintiff




                                                 29
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 30 of 31 PageID #:30




Mack and TSU football players like him incurred economic and non-economic damages in the

form of pain and suffering, permanent brain damage, past and future medical costs, health care,

home care expenses, other out of pocket expenses, lost time, lost future earnings, and the loss of

enjoyment of life.

       119.    As a result, Defendant is liable to Plaintiff and the Class for the full measure of

damages allowed under applicable law.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Lernard Mack, individually and on behalf of the Class,

respectfully requests that the Court enter an Order providing for the following relief:

       A.      Certify this case as a class action on behalf of the Class defined above, appoint

Plaintiff as representative of the Class, and appoint his counsel as Class Counsel;

       B.      Declare that Defendant’s actions, as set out above, constitute negligence, breach

of contract, and fraudulent concealment;

       C.      Award all economic, monetary, actual, consequential, compensatory, and punitive

damages available at law and caused by Defendant’s conduct, including without limitation

damages for past, present, and future medical expenses, other out of pocket expenses, lost time

and interest, lost future earnings, and all other damages suffered, including any future damages

likely to be incurred by Plaintiff and the Class;

       D.      Award Plaintiff and the Class reasonable litigation expenses and attorneys’ fees;

       E.      Award Plaintiff and the Class pre- and post-judgment interest, to the extent

allowable;

       F.      Enter injunctive and/or declaratory relief as is necessary to protect the interests of

Plaintiff and the Class; and




                                                    30
    Case: 1:20-cv-02318 Document #: 1 Filed: 03/13/20 Page 31 of 31 PageID #:31




      G.      Award such other and further relief as equity and justice may require.

                                        JURY DEMAND

      Plaintiff demands a trial by jury for all issues so triable.

                                              Respectfully submitted,

                                              LERNARD MACK, individually and on behalf of
                                              all others similarly situated,

Dated: March 13, 2020                         By: /s/ Jeff Raizner
                                              One of Plaintiff’s Attorneys

                                              Jeff Raizner
                                              efile@raiznerlaw.com
                                              RAIZNER SLANIA LLP
                                              2402 Dunlavy Street
                                              Houston, Texas 77006
                                              Tel: 713.554.9099
                                              Fax: 713.554.9098

                                              Jay Edelson*
                                              jedelson@edelson.com
                                              Benjamin H. Richman*
                                              brichman@edelson.com
                                              EDELSON PC
                                              350 North LaSalle Street, 14th Floor
                                              Chicago, Illinois 60654
                                              Tel: 312.589.6370
                                              Fax: 312.589.6378

                                              Rafey S. Balabanian*
                                              rbalabanian@edelson.com
                                              EDELSON PC
                                              123 Townsend Street, Suite 100
                                              San Francisco, California 94107
                                              Tel: 415.212.9300
                                              Fax: 415.373.9435

                                              Counsel for Plaintiff and the Putative Class

                                              *Admission to be sought.




                                                 31
